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Gibson, Dunn &
Crutcher LLP

                                                          [PROPOSED] ORDER
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            1                                UNITED STATES DISTRICT COURT
                                                  DISTRICT OF NEVADA
            2

            3    ORACLE USA, INC., a Colorado corporation;
                 ORACLE AMERICA, INC., a Delaware
            4    corporation; and ORACLE INTERNATIONAL
                 CORPORATION, a California corporation,
            5                                                           Case No. 2:10-cv-0106-LRH-PAL
                                             Plaintiffs,
            6                                                           STIPULATED [PROPOSED] ORDER
                        v.                                              REGARDING RULE 67 DEPOSIT
            7
                 RIMINI STREET, INC., a Nevada corporation,             Judge:        Hon. Larry R. Hicks
            8    and SETH RAVIN, an individual,
            9                                Defendants.
           10           Pursuant to the parties’ joint stipulation dated March 29, 2018, see Dkt. 1123, IT IS HEREBY
           11    ORDERED THAT:
           12           Under Federal Rule of Civil Procedure 67, Oracle is hereby authorized to deposit
           13    $28,502,246.40 with the Court in its Registry Account, to be disbursed with appropriate interest
           14    according to this Court’s resolution of Oracle’s renewed motion for attorneys’ fees.           This
           15    disbursement is to occur without respect to either party’s subsequent appeal from this Court’s
           16    decision.
           17           Rimini’s opposition to Oracle’s renewed motion for attorneys’ fees is due on May 25, 2018.
           18    IT IS SO ORDERED.
           19
                 DATED:
           20                                                 By:
                                                                        Hon. Larry R. Hicks
           21                                                           United States District Judge

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Gibson, Dunn &
Crutcher LLP                                                        2
                                                           [PROPOSED] ORDER
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            1                                      CERTIFICATE OF SERVICE
            2           I hereby certify that on this date, I caused to be electronically uploaded a true and correct

            3    copy in Adobe “pdf” format of the above document to the United States District Court’s Case

            4    Management and Electronic Case Filing (CM/ECF) system.             After the electronic filing of a

            5    document, service is deemed complete upon transmission of the Notice of Electronic Filing (“NEF”)

            6    to the registered CM/ECF users. All counsel of record are registered users.

            7    DATED: April 2, 2018

            8                                                GIBSON, DUNN & CRUTCHER LLP
            9
                                                             By: /s/ Mark A. Perry
           10                                                                 Mark A. Perry
           11                                                Attorneys for Defendants Rimini Street, Inc., and
                                                             Seth Ravin
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Gibson, Dunn &
Crutcher LLP                                                      3
                                                          [PROPOSED] ORDER
